Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 1 of 31




         Exhibit 1
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 2 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 3 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 4 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 5 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 6 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 7 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 8 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 9 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 10 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 11 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 12 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 13 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 14 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 15 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 16 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 17 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 18 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 19 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 20 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 21 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 22 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 23 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 24 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 25 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 26 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 27 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 28 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 29 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 30 of 31
Case 3:22-cv-07166-EMC Document 1-1 Filed 11/15/22 Page 31 of 31
